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            UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               San Jose Venue


          Second Amended Petition for Summons for Person Under Supervision


Person Under Supervision                          Docket Number
Jose Ruiz-Montes                                  0971 5:20CR00184-001 EJD

Name of Sentencing Judge: The Honorable Cynthia Ann Bashant
                          United States District Judge
                          Southern District of California

Date of Original Sentence:      February 24, 2020

Original Offense: Count One: False Statement to Government Agency, 18 U.S.C. § 1001, a
Class D Felony.

Original Sentence: Imprisonment term of time served, followed by one year supervised.

Special Conditions: $100 special assessment; if deported, not reenter the United States
illegally; mental health treatment; report all vehicles owned and operated to the probation
officer; search; 150 hours of community service, and substance abuse testing and treatment.

Prior Form(s) 12: On April 14, 2020, The Honorable Cynthia Ann Bashant modified the
client’s supervised release terms to include a substance abuse treatment condition.

On April 30, 2020, jurisdiction was transferred from the Southern District of California to the
Northern District of California and assigned to Your Honor.

On May 15, 2020, Your Honor issued a summons for possession of a controlled substance. A
court date before the duty Magistrate Judge was set for August 3, 2020, at 1:30pm.

On July 14, 2020, an Amended Petition for Summons for Person Under Supervision was filed
providing details to Charge One. The matter is currently set for an initial appearance before Your
Honor on September 19, 2020, at 1:30 p.m.

Type of Supervision                               Date Supervision Commenced
Supervised Release                                February 24, 2020
Assistant U.S. Attorney                           Defense Counsel
Christopher Vieira (AUSA)                         Severa Keith (Appointed)




                                                                     NDC-SUPV-FORM 12C(1) 4/6/2015
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RE:    Ruiz-Montes, Jose                                                                           2
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                                      Petitioning the Court

 To take notice of the addition of Charge Two and order that Ruiz-Montes appear before
              the duty Magistrate Judge on October 15, 2020, at 10:30 a.m.

I, Juan Flores, a Probation Officer employed in the United States District Court for the Northern
District of California, solemnly affirm and declare, under penalty of perjury, that to the best of my
information and belief, the facts set forth in this affidavit are true and correct. The factual
affirmations made below are based on my personal knowledge, on official records or documents
generated and maintained by my agency in the course of performing its functions, on official
records or documents generated and maintained by other government agents or agencies in the
course of performing their functions, or on information provided to me orally or electronically by
employees or agents of other public agencies (information developed or acquired in the course of
performing official agency functions).

 Charge Number          Violation

 One                    There is probable cause to believe that the person under supervision violated
                        mandatory condition number three that states he must not illegally possess
                        a controlled substance. The client must refrain from any unlawful use of a
                        controlled substance.

                           On May 5, 2020, the United States Probation Officer (USPO) received
                           and email from the client’s case manager. This email described an
                           incident at the group home in which he lives. On May 4, 2020, the case
                           manager arrived at the home to speak to the client’s roommate. When
                           he walked in, he noticed a strong odor of marijuana. The client was
                           hiding in the closet but advised the case manager that he was changing.
                           The case manager asked the client if he had been smoking marijuana, to
                           which he stated he had not. The case manager proceeded to conduct a
                           room search. In the client’s laundry basket, a “makeshift bong” (made
                           from a Coca-Cola plastic bottle), marijuana and a vape pen battery were
                           found. The client denied that any of these items were his or that he had
                           consumed marijuana.

                           On May 5, 2020, the USPO arrived at the group home to discuss the
                           previous day’s incident. Initially, the client stated he had nothing to
                           report, when confronted regarding the incident he denied being at the
                           home at the time. After advising the client that probation wishes to help
                           him and as such, he should be truthful, Mr. Ruiz-Montes admitted using
                           marijuana. He stated he has trouble sleeping and has been using
                           marijuana regularly to help him sleep. At this time, the client agreed to
                           sign an Admission Report.

                           On June 29, 2020, the USPO arrived at the group home to drug test the
                           client. The drug test resulted in a positive for THC, which he denied
                           using.


                                                                       NDC-SUPV-FORM 12C(1) 4/6/2015
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                          Evidence of this charge can be found in the chronological record and in
                          the Admission Report both dated May 5, 2020, and Alere Toxicology
                          Report specimen number B02442069.

 Two                    There is probable cause to believe that the person under supervision
                        violated mandatory condition number three that states, in part, the
                        client must refrain from any unlawful use of a controlled substance.

                        On September 24, 2020, during a home contact, Ruiz-Montes openly
                        admitted to smoking marijuana on August 2020. He reported he could
                        not remember the exact date, however, admitted it was after his last
                        Court hearing (August 12, 2020). Further, on September 25, 2020, the
                        client provided a urinalysis which resulted positive for THC.

                          Evidence of this charge can be found in the Admission/Denial report
                          signed by Ruiz-Montes dated September 24, 2020, and the Alere
                          Toxicology Report Specimen Number B02442048.

The USPO previously requested a summons due to charge one and the following events.

On March 31, 2020, Mr. Ruiz-Montes contacted the USPO to advise he moved to Rosana Street,
Gilroy, as he could no longer live at the other address due to his criminal background. On April 7,
2020, the client advised he moved again to East 7th Street, Gilroy, because he stated it was closer
to his job. On April 10, 2020, his foster mother from the Rosana Street address contacted the USPO
advising the client had stolen her identification and the keys to the home prior to leaving. She had
evicted him as he was drinking at her home, and his boyfriend would stay over without asking for
permission. She had also discovered he had also been evicted from the East 7th street address, got
fired from his job for not going into work while he lived with her, and had been expelled from
school for poor performance. Mr. Ruiz-Montes was contacted on the same day to request
information regarding the incidents at the Rosana Street address which he adamantly denied.

On April 15, 2020, he advised the USPO he moved again to Swanston Lane, Gilroy. On April 24,
2020, the USPO attempted contact with the client at his reported home. He advised he was at his
friend’s house in San Jose. Once the USPO arrived at his friend’s home in San Jose, the client was
not present. When called, he advised he was going to Walmart. The USPO arrived at Walmart and
waited for the client for 20 minutes. Once he arrived, he stated he was late due to going to another
friend’s house. The client was not wearing a mask to enter the store and was admonished for not
following the local rules of shelter-in-place orders. On April 25, 2020, the client contacted the
USPO to advise he wanted to know when the USPO wished the client return home. He was
admonished and advised he needed to go back home as soon as possible. On April 28, 2020, an
administrative meeting was conducted with the USPO and the Supervisory Probation Officer, the
client was reminded of his conditions of supervision, including being responsive and
communicating his whereabouts with the USPO.

Based on the foregoing, there is probable cause to believe that Jose Ruiz-Montes violated the
conditions of his Supervised Release.


                                                                      NDC-SUPV-FORM 12C(1) 4/6/2015
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 Respectfully submitted,                        Reviewed by:



 ___________________________________            ___________________________________
 Juan Flores                                    Sonia Lapizco
 U.S. Probation Officer                         Supervisory U.S. Probation Officer
 Date Signed: October 7, 2020


Having considered the information set forth above, the court finds there is probable cause to
believe there has been a violation of the conditions of supervision and orders:

 X    The Court takes notice of the addition of Charge Two, and orders that Ruiz-Montes appear
      before the duty Magistrate Judge on October 15, 2020, at 10:30 a.m.

      Other:




   October 7, 2020
 ___________________________________            ___________________________________
 Date                                           Edward J. Davila
                                                United States District Judge




                                                                   NDC-SUPV-FORM 12C(1) 4/6/2015
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RE:    Ruiz-Montes, Jose                                                                         5
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                                            APPENDIX

Grade of Violations: C

Criminal History at time of sentencing: I

                                 Statutory Provisions            Guideline Provisions

 Custody:                        Two years                       3-9 months
                                 18 U.S.C. § 3583(e)(3)          USSG §7B1.4(a)

 Supervised Release:             Three year, less any time in    Three years, less any time in
                                 custody upon revocation         custody upon revocation
                                 18 U.S.C. § 3583(h)             USSG §7B1.3(g)(2)

 Probation:                      Not applicable                  Not applicable




                                                                    NDC-SUPV-FORM 12C(1) 4/6/2015
